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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Hong Kong Leyuzhen Technology Co. Limited, et al.
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:24−cv−01689
                                                                        Honorable Andrea
                                                                        R. Wood
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified in Schedule A Hereto
                                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 3, 2024:


        MINUTE entry before the Honorable Andrea R. Wood: Defendants AttireArt,
CJYCYY, CurvyChicBoutique, viviFashion, jiayingfushi, Nimanya, OUZINUO,
SkyTrade, SZCHENHONG, XHP, KAILINNA, kongnilan, MGclothing, Newspeed, Plus
size Stephanie, YuweiPlus, yifang, Firstclothing, Huishangying clothing, Loretta Boutique
clothing, MUXIXIA, two years, WFUW, and ZVPC's unopposed first motion for
extension of time to answer or otherwise plead [43] is granted. The listed Defendants shall
answer or otherwise respond to Plaintiff's complaint by 10/3/2024. Mailed notice (lma, )




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